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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

PRODUCT ASSOCIATION TECHNOLOGIES LLC,                     )
                                                          )
                       Plaintiff,                         )
                                                          )
       v.                                                 )    C.A. No. 17-cv-00978-JFB-SRF
                                                          )
SHOPSTYLE, INC.,                                          )
                                                          )
                       Defendant.                         )

            JOINT STIPULATION OF FINAL JUDGMENT AND DISMISSAL

       Plaintiff Product Association Technologies, LLC (“Plaintiff”) and Defendant ShopStyle,

Inc. (“Defendant”) jointly stipulate to the entry of judgment of invalidity of Claims 1-4 of U.S

Patent 6,154,738 (“the ’738 patent”) and dismissal of the action with prejudice pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(ii).

       Plaintiff filed its Complaint in this action in the United States District Court for the

Eastern District of Texas, Marshall Division, on April 5, 2017. On July 18, 2017, this action was

transferred to the United States District Court for the District of Delaware. On August 25, 2017,

Defendant filed a motion to dismiss the action for failure to state a claim on the grounds that the

claims of the ’738 patent are all directed to an abstract idea under 35 U.S.C. § 101. Plaintiff

responded to Defendant’s motion on September 8, 2017, and Defendant filed its reply on

September 15, 2017. The motion is still pending.

       Plaintiff filed a similar action against Clique Media Group (“Clique Media”) in the

United States District Court for the Eastern District of Texas, Marshall Division, on April 5,

2017. That action (“the Clique Media Action”) was transferred to the United States District

Court for the Central District of California on July 25, 2017. On August 3, 2017, Clique Media

filed a motion to dismiss for failure to state a claim on similar grounds to the motion filed by
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Defendant in this action. Clique Media’s motion was heard on October 12, 2017 and, on

October 13, 2017, the Court granted Clique Media’s motion, entered judgment that Claims 1-4 of

the ’738 patent are invalid, and dismissed the action. On October 20, 2017, Plaintiff filed a

notice of appeal of the Court’s order on the motion to dismiss to the United States Court of

Appeals for the Federal Circuit.

       The Parties in the present action agree that this action should be dismissed on collateral

estoppel grounds. Plaintiff reserves the right to appeal the dismissal if the Federal Circuit

reverses the judgment of invalidity entered in the Clique Media Action.

       Wherefore, Plaintiff and Defendant request that the Court enter final judgment in this

action and dismiss Plaintiff’s claims against Defendant with prejudice.


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Dated: October 25, 2017



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